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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


ADOM L. DANIELS,                          )
                                          )
                          Petitioner      )
                                          )
             vs.                          ) CAUSE NO. 3:05-CV-768 RM
                                          ) (Arising out of 3:03-CR-22(01) RM)
UNITED STATES OF AMERICA,                 )
                                          )
                          Respondent      )


                              OPINION and ORDER

      On August 18, 2006, the court denies Adom Daniels’ petition filed pursuant

to 28 U.S.C. § 2255 because the 1-year period of limitations with which to file

such a motion had already expired. On September 22, the court also denied Mr.

Daniels’ motion for relief from that order. Mr. Daniels has filed an appeal of the

latter order and is before the court asking that he be permitted to proceed in forma

pauperis. Mr. Daniels represents that he is indigent and unable to pay the filing

fee. Although Mr. Daniels hasn’t requested that a certificate of appealability be

issued, the court will construe his motion as requesting such a certificate, as well.

      Issuance of a certificate of appealability requires the court to find that Mr.

Daniels has made “a substantial showing of the denial of a constitutional right.”

28 U.S.C. § 2253(c)(2). He has not done so. Not only did Mr. Daniels file his §

2255 petition after the limitations period had run, but his claim has no merit. In

his petition Mr. Daniels relies heavily on Blakely v. Washington, 542 U.S. 296

(2004), and United States v. Booker, 543 U.S. 220 (2005). Booker does not apply
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retroactively. McReynolds v. United States, 397 F.3d 479, 481 (7th Cir. 2005).

(“We conclude, then, that Booker does not apply retroactively to criminal cases

that became final before its release on January 12, 2005. That date, rather than

June 24, 2004, on which Blakely, came down, is the appropriate dividing line;

Blakely reserved decision about the status of the federal Sentencing Guidelines,

so Booker itself represents the establishment of a new rule about the federal

system.”). His request for a certificate of appealability is therefore denied.

      Federal Rule of Appellate Procedure 24(a)(3) provides that a financially

indigent person may be permitted to proceed on appeal in forma pauperis unless

the court “certifies that the appeal is not taken in good faith.” In other words, the

court must determine “that a reasonable person could suppose that the appeal

has some merit.” Walker v. O’Brien, 216 F.3d 626, 632 (7th Cir. 2000). Because

no reasonable person could find that Mr. Daniels’ appeal has any merit, the court

concludes that his appeal is not taken in good faith, and his request for pauper

status must be denied.

      Based on the foregoing, Mr. Daniels’ motion for leave to proceed in forma

pauperis on appeal and for a certificate of appealability [docket # 151] is DENIED.

      SO ORDERED.

      ENTERED:       November 16, 2006



                                    /s/ Robert L. Miller, Jr.
                                Chief Judge
                                United States District Court

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cc:   A. Daniels




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